            Case 24-40605                 Doc 118         Filed 05/22/24 Entered 05/22/24 18:12:46                   Desc Main
Fill in this information to identify the case:
                                                          Document      Page 1 of 32

Debtor Name Remarkable Healthcare of Fort Worth, LP


                                      Eastern District of Texas
United States Bankruptcy Court for the_

              24-40605                                                                                                Check if this is an
                                                                                                                        amended filing
Case number: 24-40605




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:                April               2024                                                  Date report filed:    _05/21/2024__________
                                                                                                                      MM / DD / YYYY

Line of business: NursingHome_                                                                  NAISC code:           6231
                                                                                                                      ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                           __Jon McPike________

Original signature of responsible party      ____________________________________________

Printed name of responsible party            __Jon McPike__________________________________________


             1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No        N/A
         If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                             
                                                                                                                                   ✔         
    2.   Do you plan to continue to operate the business next month?                                                              
                                                                                                                                   ✔         
    3.   Have you paid all of your bills on time?                                                                                 
                                                                                                                                   ✔         
    4.   Did you pay your employees on time?                                                                               
                                                                                                                           ✔                
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                   
                                                                                                                           ✔                
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                
                                                                                                                           ✔                
    7.   Have you timely filed all other required government filings?                                                      
                                                                                                                           ✔                
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                   
                                                                                                                           ✔                
    9.   Have you timely paid all of your insurance premiums?                                                              
                                                                                                                           ✔                
         If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                           
                                                                                                                                   ✔         
    11. Have you sold any assets other than inventory?                                                                            
                                                                                                                                   ✔         
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                     
                                                                                                                                   ✔         
    13. Did any insurance company cancel your policy?                                                                             
                                                                                                                                   ✔         
    14. Did you have any unusual or significant unanticipated expenses?                                                           
                                                                                                                                   ✔         
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                                
                                                                                                                                             ✔

    16. Has anyone made an investment in your business?                                                                           
                                                                                                                                   ✔         
Official Form 425C                           Monthly Operating Report for Small Business Under Chapter 11                      page 1
              Case 24-40605         Doc 118        Filed 05/22/24 Entered 05/22/24 18:12:46                         Desc Main
                                                   Document      Page 2 of 32
Debtor Name   Remarkable    Healthcare of Fort Worth, LP
              _______________________________________________________                             24-40605
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                            
                                                                                                                                  ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                9,272.00
                                                                                                                            $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                            170,002.00
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          462,369.00
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                             -292,367.00
                                                                                                                         + $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                             -283,095.00
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                         39,325.00
                                                                                                                            $ ____________

               (Exhibit E)




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                           page 2
              Case 24-40605          Doc 118        Filed 05/22/24 Entered 05/22/24 18:12:46                           Desc Main
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Debtor Name   Remarkable    Healthcare of Fort Worth, LP
              _______________________________________________________                                24-40605
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                         1,722,732.00
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                         133
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                           4
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                    1,000.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                      11,750.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                               5,000.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                              5,000.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ ____________           –     170,002.00
                                                                     $ ____________
                                                                                               =            0.00
                                                                                                   $ ____________
    32. Cash receipts
                                                                       462,369.00              =
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                                                 –     -292,367.00             =
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                                0.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                  186,896.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                  -186,896.00




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              Case 24-40605          Doc 118         Filed 05/22/24 Entered 05/22/24 18:12:46                    Desc Main
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Debtor Name   Remarkable    Healthcare of Fort Worth, LP
              _______________________________________________________                            24-40605
                                                                                     Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

     39. Bank reconciliation reports for each account.
    ✔ 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.
    

     41. Budget, projection, or forecast reports.

     42. Project, job costing, or work-in-progress reports.




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                         page 4


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                                   Preston Center
                                                  Document
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                                    Dallas, TX 75225




               REMARKABLE HEALTHCARE OF FORT WORTH LP
               DEBTOR IN POSSESSION CASE 23-42100
               COMMERCIAL RECEIVABLES ACCOUNT
               PAYROLL ACCOUNT
               904 EMERALD BLVD                                                                            ACCOUNT #         2406
               SOUTHLAKE TX 76092-6203
                                                                                                                                         001
                                                                                                                    Cycle                 26
                                                                                                               Enclosures                   0
                                                                                                                    Page               1 of 3

                                                             DACA PASSIVE
                                                  March 30, 2024 through April 30, 2024



                                                                  SUMMARY
Beginning Balance                             $11,148.28                  Minimum Balance                                           $385 -
Deposits & Credits                            $52,632.39      +
Withdrawals                                   $61,748.97      -
Fees                                            $885.91       -
Automatic Transfers                                $0.00      +
Checks                                             $0.00      -
Ending Balance                                 $1,145.79



                                                       DEPOSITS & CREDITS
       04/01      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3237122797                                                            110.92
       04/01      Central Payment Pmt Proc Remarkable Hea 84870022149075                                                       1,545.00
       04/03      Central Payment Pmt Proc Remarkable Hea 84870022149075                                                       1,807.14
       04/04      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3237511892                                                            285.75
       04/04      Wellpoint Ic5c Hcclaimpmt Remarkable Hea 3237511893                                                            348.39
       04/05      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3237642572                                                            672.43
       04/05      Central Payment Pmt Proc Remarkable Hea 84870022149075                                                       8,513.94
       04/09      Central Payment Pmt Proc Remarkable Hea 84870022149075                                                       2,010.13
       04/10      EB From Checking # 6188 Ref# 000000 8647334                                                                    500.00
       04/15      Central Payment Pmt Proc Remarkable Hea 84870022149075                                                         247.02
       04/17      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3238673529                                                         33,610.49
       04/19      Unitedhealthcare Hcclaimpmt Remarkable Hea 274371692                                                           930.00
       04/19      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3238905921                                                          1,405.39
       04/23      Wellpoint Tx5c Hcclaimpmt Remarkable Hea 3239129502                                                             22.43
       04/24      Aetna As01     Hcclaimpmt Remarkable Hea 1386949220                                                            623.36

                                                                                             Total Deposits & Credits        $52,632.39


                                                            WITHDRAWALS
       04/01      EB to Checking # 6188 Ref# 000000 8647298                                                                   10,000.00
       04/03      EB to Checking # 6188 Ref# 000000 8647305                                                                    4,111.34
       04/05      EB to Checking # 6188 Ref# 000000 8647318                                                                    8,000.00
       04/05      EB to Checking # 6188 Ref# 000000 8647322                                                                    1,820.51
       04/09      EB to Checking # 6188 Ref# 000000 8647329                                                                    2,010.13
       04/16      EB to Checking # 6188 Ref# 000000 8647342                                                                      300.00
       04/17      EB to Checking # 6188 Ref# 000000 8647343                                                                   33,171.60




                                                Thank You For Banking With Regions!
                                        2024 Regions Bank Member FDIC. All loans subject to credit approval.
        Case 24-40605       Doc   118Bank
                             Regions      Filed 05/22/24 Entered 05/22/24 18:12:46           Desc Main
                             Preston Center
                                            Document
                             5858 W. Northwest Highway  Page 6 of 32
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REMARKABLE HEALTHCARE OF FORT WORTH LP
DEBTOR IN POSSESSION CASE 23-42100
COMMERCIAL RECEIVABLES ACCOUNT
                                                                             ACCOUNT #            2406
PAYROLL ACCOUNT
904 EMERALD BLVD                                                                                            001
SOUTHLAKE TX 76092-6203                                                                 Cycle                26
                                                                                   Enclosures                  0
                                                                                        Page              2 of 3

                                        WITHDRAWALS (CONTINUED)
04/19     EB to Checking # 6188 Ref# 000000 8647348                                                 2,335.39

                                                                         Total Withdrawals        $61,748.97


                                                      FEES
04/09     Analysis Charge      03-24                                                                 885.91


                                          DAILY BALANCE SUMMARY
Date                   Balance              Date             Balance           Date                 Balance
04/01                  2,804.20             04/09             385.91 -         04/17                  500.00
04/03                    500.00             04/10             114.09           04/19                  500.00
04/04                  1,134.14             04/15             361.11           04/23                  522.43
04/05                    500.00             04/16              61.11           04/24                1,145.79



                             You may request account disclosures containing
                              terms, fees, and rate information (if applicable)
                            for your account by contacting any Regions office.
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          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

We will determine whether an error occurred within ten (10) business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to forty-five (45) days to investigate your complaint or question (ninety (90) days for POS transactions or for transfers initiated outside of
the United States). If we decide to do this, we will credit your account within ten (10) business days for the amount you think is in error. If, after the investigation,
we determine that no bank error occurred, we will debit your account to the extent previously credited. If we ask you to put your complaint in writing and we do not
receive it within ten (10) business days, we may not credit your account.

New Accounts- If an alleged error occurred within thirty (30) days after your first deposit to your account was made, we may have up to ninety (90) days to
investigate your complaint, provided we credit your account within twenty (20) business days for the amount you think is in error.
If we decide there was no error, we will send you a written explanation within three (3) business days after we finish our investigation. You may ask for copies of
the documents that we used in our investigation.
FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
You can make a deposit at the branch during business hours or at a Regions Deposit-Smart ATM, and you can also make a transfer or deposit through Regions
Online Banking or Mobile Banking. To make a deposit to an overdrawn account 24 hours a day, please visit https://selfservice.regions.com.
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               REMARKABLE HEALTHCARE OF FORT WORTH LP
               DISBURSEMENT
               DEBTOR IN POSSESSION CASE 23-42100
               904 EMERALD BLVD
               SOUTHLAKE TX 76092-6203                                                                     ACCOUNT #        6188
                                                                                                                                      001
                                                                                                                    Cycle              25
                                                                                                               Enclosures                0
                                                                                                                    Page            1 of 4

                                                             DACA PASSIVE
                                                  March 30, 2024 through April 30, 2024



                                                                  SUMMARY
Beginning Balance                             $8,762.80                   Minimum Balance                                      $3,674 -
Deposits & Credits                          $215,826.78       +
Withdrawals                                 $163,237.26       -
Fees                                            $450.38       -
Automatic Transfers                               $0.00       +
Checks                                            $0.00       -
Ending Balance                               $60,901.94



                                                       DEPOSITS & CREDITS
       04/01      EB From Checking # 6005 Ref# 000000 8647297                                                                 3,100.00
       04/01      EB From Checking # 2406 Ref# 000000 8647298                                                                10,000.00
       04/01      EB From Checking # 5998 Ref# 000000 8647299                                                                18,000.00
       04/03      EB From Checking # 2384 Ref# 000000 8647301                                                                16,000.00
       04/03       EB From Checking # 2406 Ref# 000000 8647305                                                                4,111.34
       04/04      EB From Checking # 6196 Ref# 000000 8647312                                                                 4,096.20
       04/04      EB From Checking # 6153 Ref# 000000 8647313                                                                 3,508.50
       04/04      EB From Checking # 6161 Ref# 000000 8647314                                                                10,000.00
       04/05      EB From Checking # 2406 Ref# 000000 8647318                                                                 8,000.00
       04/05      EB From Checking # 2406 Ref# 000000 8647322                                                                 1,820.51
       04/08      EB From Checking # 2384 Ref# 000000 8647324                                                                 4,995.25
       04/09      EB From Checking # 2384 Ref# 000000 8647328                                                                 3,000.00
       04/09      EB From Checking # 62406 Ref# 000000 8647329                                                                2,010.13
       04/12      EB From Checking # 2384 Ref# 000000 8647339                                                                 4,400.00
       04/12      EB From Checking # 6161 Ref# 000000 8647340                                                                 1,000.00
       04/16      EB From Checking # 2384 Ref# 000000 8647341                                                                 3,500.00
       04/16      EB From Checking # 2406 Ref# 000000 8647342                                                                   300.00
       04/17      EB From Checking # 2406 Ref# 000000 8647343                                                                33,171.60
       04/19      EB From Checking # 2384 Ref# 000000 8647347                                                                49,238.80
       04/19      EB From Checking # 2406 Ref# 000000 8647348                                                                 2,335.39
       04/23      EB From Checking # 6196 Ref# 000000 8647352                                                                   255.00
       04/29      Regions Bank Acct Trans 25142          Nandashipp                                                           8,053.75
       04/29      Regions Bank Acct Trans 5142           Nandashipp                                                          10,328.75
       04/29      Regions Bank Acct Trans 25142          Nandashipp                                                              16.46
       04/29      Regions Bank Acct Trans 5142           Nandashipp                                                           4,891.83
       04/29      Regions Bank Acct Trans 5142           Nandashipp                                                           3,521.50
       04/29      Regions Bank Acct Trans 5142           Nandashipp                                                               7.13
       04/29      Regions Bank Acct Trans 5142           Nandashipp                                                              71.00




                                                Thank You For Banking With Regions!
                                        2024 Regions Bank Member FDIC. All loans subject to credit approval.
        Case 24-40605     Doc   118Bank
                           Regions       Filed 05/22/24 Entered 05/22/24 18:12:46              Desc Main
                           Keller
                                         Document
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REMARKABLE HEALTHCARE OF FORT WORTH LP
DISBURSEMENT
DEBTOR IN POSSESSION CASE 23-42100
                                                                               ACCOUNT #            6188
904 EMERALD BLVD
SOUTHLAKE TX 76092-6203                                                                                       001
                                                                                          Cycle                25
                                                                                     Enclosures                  0
                                                                                          Page              2 of 4

                                   DEPOSITS & CREDITS (CONTINUED)
04/29     Regions Bank   Acct Trans 5142        Nandashipp                                            2,555.49
04/29     Regions Bank   Acct Trans 5142        Nandashipp                                            3,538.15

                                                                    Total Deposits & Credits       $215,826.78


                                               WITHDRAWALS
04/01     Card Purchase Walmart.Com 800 5310 800-966-6546 AR 72716 0825                                 214.25
04/01     Card Purchase 7-Eleven 27575 5541 Ft Worth       TX 76137 0825                                 62.09
04/01     PFS Shreveport AR Payment D.I.P Remarkab 0528- 52803176                                       215.12
04/02     Central Payment Dl Fee Sep Remarkable Hea 84870022149075                                      865.24
04/02     Health Care Serv Obppaymt Remarkable Hea 7570004629                                        30,912.54
04/03     Regions Bank Acct Trans 5142              Nandashipp                                       24,562.69
04/03     Card Purchase The Home Depot 5200 Ft Worth        TX 76137 0825                                43.26
04/03     Recurring Card Transaction Ringcentral Inc 4814 888-898-4591 CA 94002 0825                    115.21
04/03     Card Purchase Amzn Mktp Us*vc 5942 Amzn.Com/Bill WA 98109 0825                                 23.82
04/03     Card Purchase Amzn Mktp Us*en 5942 Amzn.Com/Bill WA 98109 0825                                 24.98
04/03     Dallas Life Supp ACH Account Name                                                              33.95
04/03     PFS Shreveport AR Payment D.I.P Remarkab 0528- 52803176                                        92.52
04/03     Next Generation Simplywork Remarkable 1                                                     1,054.40
04/04     Regions Bank Acct Trans 5142              Nandashipp                                        3,618.25
04/04     Card Purchase 7-Eleven 27575 5541 Ft Worth       TX 76137 0825                                 74.87
04/04     Card Purchase Amzn Mktp Us*hi 5942 Amzn.Com/Bill WA 98109 0825                                 82.28
04/04     Card Purchase Amzn Mktp Us*rn 5942 Amzn.Com/Bill WA 98109 0825                                101.07
04/04     PFS Shreveport AR Payment D.I.P Remarkab 0528- 52803176                                     6,576.04
04/04     Performancessla AR Payment D.I.P Remarkab Cust #03176                                       7,604.70
04/05     Regions Bank Acct Trans 25142             Nandashipp                                        1,500.00
04/05     Performancessla AR Payment Remarkable Hc Cust #02458                                          756.40
04/05     PFS Shreveport AR Payment D.I.P Remarkab 0528- 52803176                                     7,218.59
04/08     Card Purchase Amzn Mktp Us*f7 5942 Amzn.Com/Bill WA 98109 0825                                609.11
04/08     Card Purchase Amzn Mktp Us*o0 5942 Amzn.Com/Bill WA 98109 0825                                 48.31
04/08     Card Purchase The Home Depot 5200 Ft Worth        TX 76137 0825                                70.70
04/08     Card Purchase 7-Eleven 27575 5541 Ft Worth       TX 76137 0825                                 59.37
04/09     Regions Bank Prefunddbt 142               Nandashipp                                        3,123.00
04/09     Dallas Life Supp ACH Account Name                                                              48.50
04/09     Jmj1         Sale Remarkable Hea                                                              625.00
04/10     Recurring Card Transaction Ringcentral Inc 4814 888-898-4591 CA 94002 0124                    121.25
04/10     EB to Checking # 62384 Ref# 000000 8647333                                                    500.00
04/10     EB to Checking # 2406 Ref# 000000 8647334                                                     500.00
04/12     Card Purchase 7-Eleven 27575 5541 Ft Worth       TX 76137 0825                                100.93
04/12     Performancessla AR Payment Remarkable Hc Cust #02458                                          756.36
04/12     PFS Shreveport AR Payment D.I.P Remarkab 0528- 52803176                                     9,909.54
04/15     PFS Shreveport AR Payment D.I.P Remarkab 0528- 52803176                                     3,804.55
04/17     Dallas Life Supp ACH Account Name                                                             743.50
04/18     Regions Bank Prefunddbt 5142              Nandashipp                                        1,489.96
04/18     Card Purchase 7-Eleven 27575 5541 Ft Worth       TX 76137 0825                                103.74
04/18     Recurring Card Transaction Adobe *Indesig 5734 408-536-6000 CA 95110 0825                      24.89
04/18     PFS Shreveport AR Payment D.I.P Remarkab 0528- 52803176                                     4,997.86
04/19     Care One Communi Careonecom Remarkable Hea M80396907862                                       814.83
04/19     PFS Shreveport AR Payment D.I.P Remarkab 0528- 52803176                                     3,538.15
04/22     Recurring Card Transaction Amazon Prime*am 5968 Amzn.Com/Bill WA 98109 0761                    15.89
04/22     Wire Transfer Turner, Stone                                                                28,708.75
04/22     Wire Transfer Shelia Pitchfo                                                                1,336.21
04/23     Regions Bank Prefunddbt 5142              Nandashipp                                           23.09
        Case 24-40605       Doc   118Bank
                             Regions       Filed 05/22/24 Entered 05/22/24 18:12:46            Desc Main
                             Keller
                                           Document
                             521 Keller Parkway          Page 11 of 32
                              Keller, TX 76248




REMARKABLE HEALTHCARE OF FORT WORTH LP
DISBURSEMENT
DEBTOR IN POSSESSION CASE 23-42100
                                                                               ACCOUNT #            6188
904 EMERALD BLVD
SOUTHLAKE TX 76092-6203                                                                                       001
                                                                                          Cycle                25
                                                                                     Enclosures                  0
                                                                                          Page              3 of 4

                                           WITHDRAWALS (CONTINUED)
04/23     Card Purchase City of Seguin 9399 830-3793212 TX 78155 8714                                   255.00
04/23     Card Purchase Txdps Crime Rec 9399 Egov.Com      TX 78752 0825                                153.63
04/23     Card Purchase Berrett Pest CO 7342 214-2424800 TX 75042 0124                                  204.59
04/24     Card Purchase 7-Eleven 27575 5541 Ft Worth    TX 76137 0825                                    69.03
04/24     Card Purchase Republic Servic 4900 866-576-5548 AZ 85054 0825                                 397.00
04/24     Marshall Shreddi Sale 3350 Bonnie VI                                                           71.00
04/24     Marshall Shreddi Sale 6649 Riverside                                                           71.00
04/24     Miranda M. Willi Sale Remarkable Hea                                                        4,300.00
04/25     PFS Shreveport AR Payment D.I.P Remarkab 0528- 52803176                                     3,521.50
04/26     Regions Bank Prefunddbt 5142            Nandashipp                                            350.00
04/26     Card Purchase Palios Pizza CA 5812 Fort Worth TX 76137 0825                                    64.16
04/26     PFS Shreveport AR Payment D.I.P Remarkab 0528- 52803176                                     4,908.29
04/29     Card Purchase 7-Eleven 27575 5541 Ft Worth    TX 76137 0825                                   100.00
04/29     Card Purchase IN *Biomedical 5169 409-7362447 TX 77640 0825                                   907.50
04/30     Dallas Life Supp ACH Account Name                                                              38.80

                                                                           Total Withdrawals       $163,237.26


                                                     FEES
04/09     Analysis Explicit Charge 03-24                                                                37.00
04/09     Analysis Charge        03-24                                                                 413.38

                                                                                 Total Fees           $450.38


                                           DAILY BALANCE SUMMARY
Date                    Balance              Date             Balance            Date                 Balance
04/01                  39,371.34             04/10            5,496.84           04/22               43,097.47
04/02                   7,593.56             04/12              130.01           04/23               42,716.16
04/03                   1,754.07             04/15            3,674.54 -         04/24               37,808.13
04/04                   1,301.56             04/16              125.46           04/25               34,286.63
04/05                   1,647.08             04/17           32,553.56           04/26               28,964.18
04/08                   5,854.84             04/18           25,937.11           04/29               60,940.74
04/09                   6,618.09             04/19           73,158.32           04/30               60,901.94



                             You may request account disclosures containing
                              terms, fees, and rate information (if applicable)
                            for your account by contacting any Regions office.
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          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

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the documents that we used in our investigation.
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(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
You can make a deposit at the branch during business hours or at a Regions Deposit-Smart ATM, and you can also make a transfer or deposit through Regions
Online Banking or Mobile Banking. To make a deposit to an overdrawn account 24 hours a day, please visit https://selfservice.regions.com.
               Case 24-40605      Doc   118Bank
                                   Regions      Filed 05/22/24 Entered 05/22/24 18:12:46                               Desc Main
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                                                Document
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                                   Dallas, TX 75225




               REMARKABLE HEALTHCARE OF FORT WORTH LP
               DEBTOR IN POSSESSION CASE 23-42100
               GOVERNMENT RECEIVABLES ACCOUNT
               OPERATING ACCOUNT
               904 EMERALD BLVD                                                                           ACCOUNT #         2384
               SOUTHLAKE TX 76092-6203
                                                                                                                                       001
                                                                                                                   Cycle                26
                                                                                                              Enclosures                  0
                                                                                                                   Page              1 of 3

                                                            DACA PASSIVE
                                                 March 30, 2024 through April 30, 2024



                                                                 SUMMARY
Beginning Balance                            $4,578.58                   Minimum Balance                                      $11,691 -
Deposits & Credits                         $141,984.33       +
Withdrawals                                $124,670.39       -
Fees                                           $844.14       -
Automatic Transfers                              $0.00       +
Checks                                           $0.00       -
Ending Balance                              $21,048.38



                                                      DEPOSITS & CREDITS
       04/02      Quick Deposit - Thank You                                                                                     131.00
       04/02      Quick Deposit - Thank You                                                                                  11,783.00
       04/04      EB From Checking # 6533 Ref# 000000 8647311                                                                11,700.00
       04/05      Quick Deposit - Thank You                                                                                     532.00
       04/05      Quick Deposit - Thank You                                                                                   2,585.67
       04/05      Quick Deposit - Thank You                                                                                     992.00
       04/05      Quick Deposit - Thank You                                                                                     100.00
       04/05      Quick Deposit - Thank You                                                                                   1,277.00
       04/08      Quick Deposit - Thank You                                                                                     981.00
       04/08      Quick Deposit - Thank You                                                                                   1,377.66
       04/08      Quick Deposit - Thank You                                                                                     591.20
       04/10      EB From Checking # 6188 Ref# 000000 8647333                                                                   500.00
       04/12      Quick Deposit - Thank You                                                                                   1,319.00
       04/12      Quick Deposit - Thank You                                                                                   2,222.00
       04/12      Novitas Solution Hcclaimpmt Remarkable Hea 676285                                                           4,332.87
       04/15      Quick Deposit - Thank You                                                                                     310.00
       04/15      Quick Deposit - Thank You                                                                                     150.00
       04/15      Quick Deposit - Thank You                                                                                     487.20
       04/16      Novitas Solution Hcclaimpmt Remarkable Hea 676285                                                          79,750.99
       04/19      Hnb - Echo      Hcclaimpmt Remarkable Hea 274371692                                                           313.36
       04/22      Hnb - Echo      Hcclaimpmt Remarkable Hea 274371692                                                         4,128.68
       04/24      Molina Healthcar Molinaach 0004remarkable 01275754                                                            117.78
       04/26      Humana Cha Disb Hcclaimpmt Remarkable Hea 46339970                                                          1,042.35
       04/30      Quick Deposit - Thank You                                                                                   6,311.08
       04/30      Health Human Svc Hcclaimpmt Remarkable Hea 12743716925000                                                   8,948.49

                                                                                            Total Deposits & Credits       $141,984.33




                                               Thank You For Banking With Regions!
                                       2024 Regions Bank Member FDIC. All loans subject to credit approval.
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                                          Document
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                             Dallas, TX 75225




REMARKABLE HEALTHCARE OF FORT WORTH LP
DEBTOR IN POSSESSION CASE 23-42100
GOVERNMENT RECEIVABLES ACCOUNT
                                                                              ACCOUNT #            2384
OPERATING ACCOUNT
904 EMERALD BLVD                                                                                             001
SOUTHLAKE TX 76092-6203                                                                  Cycle                26
                                                                                    Enclosures                  0
                                                                                         Page              2 of 3

                                                    WITHDRAWALS
04/02     Regions Bank Acct Trans 271665142      Nandashipp                                            270.00
04/03     Returned Deposit Item # of Itm(S) 0002                                                    11,914.00
04/03     EB to Checking # 6188 Ref# 000000 8647301                                                 16,000.00
04/08     EB to Checking # 6188 Ref# 000000 8647324                                                  4,995.25
04/09     EB to Checking # 6188 Ref# 000000 8647328                                                  3,000.00
04/12     EB to Checking # 6188 Ref# 000000 8647339                                                  4,400.00
04/16     Returned Deposit Item # of Itm(S) 0001                                                     1,319.00
04/16     EB to Checking # 6188 Ref# 000000 8647341                                                  3,500.00
04/17     Regions Bank Acct Trans 271665142      Nandashipp                                         11,700.00
04/18     Regions Bank Acct Trans 271665142      Nandashipp                                          5,000.00
04/18     Regions Bank Acct Trans 271665142      Jmcpike                                             6,666.67
04/18     Regions Bank Acct Trans 271665142      Jmcpike                                             6,666.67
04/19     EB to Checking # 6188 Ref# 000000 8647347                                                 49,238.80

                                                                          Total Withdrawals       $124,670.39


                                                       FEES
04/09     Analysis Charge      03-24                                                                  844.14


                                          DAILY BALANCE SUMMARY
Date                   Balance              Date               Balance          Date                 Balance
04/02                 16,222.58             04/10                105.72         04/19                  500.00
04/03                 11,691.42 -           04/12              3,579.59         04/22                4,628.68
04/04                      8.58             04/15              4,526.79         04/24                4,746.46
04/05                  5,495.25             04/16             79,458.78         04/26                5,788.81
04/08                  3,449.86             04/17             67,758.78         04/30               21,048.38
04/09                    394.28 -           04/18             49,425.44



                             You may request account disclosures containing
                              terms, fees, and rate information (if applicable)
                            for your account by contacting any Regions office.
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          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
endorsements to the Bank within the time periods specified under the Deposit Agreement. If you do not do this, the Bank will not be liable to you for the losses or
claims arising from the forged signatures, forged endorsements or alterations. Please see the Deposit Agreement for further explanation of your responsibilities
with regard to your statement and checks. A copy of our current Deposit Agreement may be requested at any of our branch locations.

                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
must hear from you no later than sixty (60) days after we sent the FIRST statement on which the problem or error appeared.
      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

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FOR QUESTIONS CONCERNING THIS STATEMENT OR FOR VERIFICATION OF A PREAUTHORIZED DEPOSIT, PLEASE CALL 1-800-REGIONS
(734-4667) OR VISIT YOUR NEAREST REGIONS LOCATION.

ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
You can make a deposit at the branch during business hours or at a Regions Deposit-Smart ATM, and you can also make a transfer or deposit through Regions
Online Banking or Mobile Banking. To make a deposit to an overdrawn account 24 hours a day, please visit https://selfservice.regions.com.
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               REMARKABLE HEALTHCARE OF FORT WORTH LP
               DEBTOR IN POSSESSION CASE 23-42100
               PAYROLL
               904 EMERALD BLVD
               SOUTHLAKE TX 76092-6203                                                                        ACCOUNT #             4045
                                                                                                                                                001
                                                                                                                          Cycle                  26
                                                                                                                     Enclosures                    0
                                                                                                                          Page                1 of 2

                                             COMMERCIAL ANALYZED CHECKING
                                                     March 30, 2024 through April 30, 2024



                                                                     SUMMARY
Beginning Balance                                  $1,376.20                 Minimum Balance                                           $1,302
Deposits & Credits                                     $0.00     +
Withdrawals                                            $0.00     -
Fees                                                  $73.34     -
Automatic Transfers                                    $0.00     +
Checks                                                 $0.00     -
Ending Balance                                     $1,302.86



                                                                        FEES
       04/09      Analysis Charge        03-24                                                                                             36.34
       04/09      Analysis Explicit Charge 03-24                                                                                           37.00

                                                                                                                  Total Fees           $73.34


                                                     DAILY BALANCE SUMMARY
       Date                     Balance
       04/09                    1,302.86



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                                      terms, fees, and rate information (if applicable)
                                    for your account by contacting any Regions office.




                                                   Thank You For Banking With Regions!
                                           2024 Regions Bank Member FDIC. All loans subject to credit approval.
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          Easy Steps to Balance Your Account                                                          4a List any checks, payments, transfers or other
                                                                                                         withdrawals from your account that are not on
                                                                               Checking                  this statement.
                                                                               Account
                                                                                                             Check
              1.       Write here the amount shown on                      $                                  No.                            Amount
                       statement for ENDING BALANCE
                                                                                                                              $
                                                                                                                              $
              2.       Enter any deposits which have not been              $
                       credited on this statement.                         +                                                  $
                                                                                                                              $

              3.       Total lines 1 & 2                                   $                                                  $
                                                                           =                                                  $
                                                                                                                              $
              4.       Enter total from 4a                                 $                                                  $
                       (column on right side of page)                      -                                                  $
                                                                                                                              $
              5.       Subtract line 4 from line 3.                        $                                                  $
                       This should be your checkbook balance.              =
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                       Total Enter in
                                                                                                       Line 4 at Left


The law requires you to use "reasonable care and promptness" in examining your bank statement and any checks sent with it and to report to the Bank an
unauthorized signature (i.e., a forgery), any alteration of a check, or any unauthorized endorsement. You must report any forged signatures, alterations or forged
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                                                           Summary of Our Error Resolution Procedures
                                                   In Case of Errors or Questions About Your Electronic Transfers
                                                              Telephone us toll-free at 1-800-734-4667
                                                                            or write us at
                                                            Regions Electronic Funds Transfer Services
                                                                         Post Office Box 413
                                                                    Birmingham, Alabama 35201

Please contact Regions as soon as you can, if you think your statement is wrong or if you need more information about a transfer listed on your statement. We
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      (1) Tell us your name and account number.
      (2) Describe the error or the transfer you are unsure about and explain as clearly as you can why you believe it is an error or why you need more information.
      (3) Tell us the dollar amount of the suspected error.
If you tell us verbally, we may require that you send us your complaint or question in writing within ten (10) business days.

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ADJ - Adjustment              RI - Return Item                 CR - Credit                           SC - Service Charge                  OD - Overdrawn
EB - Electronic Banking       NSF - Nonsufficient Funds        APY - Annual Percentage Yield         FWT - Federal Withholding Tax        *Break in Number Sequence
You can make a deposit at the branch during business hours or at a Regions Deposit-Smart ATM, and you can also make a transfer or deposit through Regions
Online Banking or Mobile Banking. To make a deposit to an overdrawn account 24 hours a day, please visit https://selfservice.regions.com.
         Case 24-40605
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Post Date Account Name       Transaction Description      Status    Debit/CreditAmount   Transaction Detail             BAI Code Currency
  4/24/24 FTW COM Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit        623.36 AETNA AS01             /             165 1386949220
                                                                                                                                   USD
  4/23/24 FTW COM Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit         22.43 Wellpoint TX5C           /           165 USD
                                                                                                                                    3239129502
  4/19/24 FTW COM Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit       1405.39 Wellpoint TX5C           /           165 USD
                                                                                                                                    3238905921
  4/19/24 FTW COM Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit           930 UnitedHealthcare           /         165 USD
                                                                                                                                    274371692
  4/17/24 FTW COM Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit      33610.49 Wellpoint TX5C           /           165 USD
                                                                                                                                    3238673529
  4/15/24 FTW COM Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit        247.02 CENTRAL PAYMENT              /       165 USD8487002214
   4/9/24 FTW COM Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit       2010.13 CENTRAL PAYMENT              /       165 USD8487002214
   4/5/24 FTW COM Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit       8513.94 CENTRAL PAYMENT              /       165 USD8487002214
   4/5/24 FTW COM Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit        672.43 Wellpoint TX5C           /           165 USD
                                                                                                                                    3237642572
   4/4/24 FTW COM Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit        348.39 Wellpoint IC5C           /           165 USD
                                                                                                                                   3237511893
   4/4/24 FTW COM Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit        285.75 Wellpoint TX5C           /           165 USD
                                                                                                                                    3237511892
   4/3/24 FTW COM Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit       1807.14 CENTRAL PAYMENT              /       165 USD8487002214
   4/1/24 FTW COM Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit          1545 CENTRAL PAYMENT              /       165 USD8487002214
   4/1/24 FTW COM Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit        110.92 Wellpoint TX5C           /           165 USD
                                                                                                                                    3237122797
  4/30/24 FTW GOV Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit       8948.49 HEALTH HUMAN SVC               /     165 USD 127437169
  4/30/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit       6311.08                                      175 USD
  4/26/24 FTW GOV Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit       1042.35 HUMANA CHA DISB              /       165 USD46339970
  4/24/24 FTW GOV Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit        117.78 MOLINA HEALTHCAR               /     165 USD 01275754
  4/22/24 FTW GOV Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit       4128.68 HNB - ECHO             /             165 274371692
                                                                                                                                   USD
  4/19/24 FTW GOV Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit        313.36 HNB - ECHO             /             165 274371692
                                                                                                                                   USD
  4/16/24 FTW GOV Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit      79750.99 NOVITAS SOLUTION             /       165 USD676285
  4/15/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit         487.2                                      175 USD
  4/15/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit           310                                      175 USD
  4/15/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit           150                                      175 USD
  4/12/24 FTW GOV Deposits   PREAUTHORIZED ACH CREDIT     Cleared   Credit       4332.87 NOVITAS SOLUTION             /       165 USD676285
  4/12/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit          1319                                      175 USD
  4/12/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit          2222                                      175 USD
   4/8/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit       1377.66                                      175 USD
   4/8/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit           981                                      175 USD
   4/8/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit         591.2                                      175 USD
   4/5/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit       2585.67                                      175 USD
   4/5/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit          1277                                      175 USD
   4/5/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit           992                                      175 USD
   4/5/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit           532                                      175 USD
   4/5/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit           100                                      175 USD
   4/3/24 FTW GOV Deposits   DEPOSITED ITEM RETURNED      Cleared   Debit         -11783 NSF             /                    555 USD
   4/3/24 FTW GOV Deposits   DEPOSITED ITEM RETURNED      Cleared   Debit           -131 NSF             /                    555 USD
   4/2/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit         11783                                      175 USD
   4/2/24 FTW GOV Deposits   CHECK DEPOSIT PACKAGE        Cleared   Credit           131                                      175 USD

                                                                              170002.7
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4/30/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH-38.8
                                                   DEBIT62000019 Debit   DALLAS LIFE SUPP / 817-284-7788 / DALLAS LIFE SUPP ACH / A
4/29/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking     -907.5 62000019 Debit   IN *BIOMEDICAL 5169 / 409-7362447 TX 77640 0825 /
4/29/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking       -100 62000019 Debit   7-ELEVEN 27575 5541 / FT WORTH TX 76137 0825 /
4/26/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking     -64.16 62000019 Debit   PALIOS PIZZA CA 5812 / FORT WORTH TX 76137 0825 /
4/26/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH -350
                                                   DEBIT62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
4/26/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                              -4,908.29
                                                   DEBIT62000019 Debit   PFS Shreveport / 0528- 52803176 / PFS Shreveport AR PAYMENT
4/25/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                              -3,521.50
                                                   DEBIT62000019 Debit   PFS Shreveport / 0528- 52803176 / PFS Shreveport AR PAYMENT
4/24/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking       -397 62000019 Debit   REPUBLIC SERVIC 4900 / 866-576-5548 AZ 85054 0825 /
4/24/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking     -69.03 62000019 Debit   7-ELEVEN 27575 5541 / FT WORTH TX 76137 0825 /
4/24/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                              -4,300.00
                                                   DEBIT62000019 Debit   MIRANDA M. WILLI / / MIRANDA M. WILLI SALE / REMARKABLE H
4/24/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH DEBIT
                                                    -71 62000019 Debit   MARSHALL SHREDDI / / MARSHALL SHREDDI SALE / 6649 RIV
4/24/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH DEBIT
                                                    -71 62000019 Debit   MARSHALL SHREDDI / / MARSHALL SHREDDI SALE / 3350 BON
4/23/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking       -255 62000019 Debit   CITY OF SEGUIN 9399 / 830-3793212 TX 78155 8714 /
4/23/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking -204.59 62000019 Debit      BERRETT PEST CO 7342 / 214-2424800 TX 75042 0124 /
4/23/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking -153.63 62000019 Debit      TXDPS CRIME REC 9399 / EGOV.COM TX 78752 0825 /
4/23/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH -23.09
                                                   DEBIT62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
4/22/24 Cleared   FTW Disbursements
                            OUTGOINGChecking
                                      MONEY  -28,708.75
                                               TRANSFER 62000019 Debit   Outgoing FED Wire TRN :20240422-00000054 FED IMAD :...
4/22/24 Cleared   FTW Disbursements
                            OUTGOINGChecking
                                      MONEY-1,336.21
                                               TRANSFER 62000019 Debit   Outgoing FED Wire TRN :20240422-00004145 FED IMAD :...
4/22/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking     -15.89 62000019 Debit   Amazon Prime*AM 5968 / Amzn.com bill WA 98109 0761 /
4/19/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                              -3,538.15
                                                   DEBIT62000019 Debit   PFS Shreveport / 0528- 52803176 / PFS Shreveport AR PAYMENT
4/19/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH-814.83
                                                   DEBIT62000019 Debit   CARE ONE COMMUNI CAREONECOM / REMARKABLE HEA M80
4/18/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking     -24.89 62000019 Debit   ADOBE *INDESIG 5734 / 408-536-6000 CA 95110 0825 /
4/18/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking -103.74 62000019 Debit      7-ELEVEN 27575 5541 / FT WORTH TX 76137 0825 /
4/18/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                              -1,489.96
                                                   DEBIT62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
4/18/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                              -4,997.86
                                                   DEBIT62000019 Debit   PFS Shreveport / 0528- 52803176 / PFS Shreveport AR PAYMENT
4/17/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH -743.5
                                                   DEBIT62000019 Debit   DALLAS LIFE SUPP / 817-284-7788 / DALLAS LIFE SUPP ACH / A
4/15/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                              -3,804.55
                                                   DEBIT62000019 Debit   PFS Shreveport / 0528- 52803176 / PFS Shreveport AR PAYMENT
4/12/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking -100.93 62000019 Debit      7-ELEVEN 27575 5541 / FT WORTH TX 76137 0825 /
4/12/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                              -9,909.54
                                                   DEBIT62000019 Debit   PFS Shreveport / 0528- 52803176 / PFS Shreveport AR PAYMENT
4/12/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH-756.36
                                                   DEBIT62000019 Debit   PERFORMANCESSLA / Cust #02458 / PERFORMANCESSLA AR
4/10/24 Cleared   FTW Disbursements
                            MISCELLANEOUS
                                    Checking DEBIT -500 62000019 Debit   EB TO CHECKING # 0136962384 / REF# 000000 8647333 /
4/10/24 Cleared   FTW Disbursements
                            MISCELLANEOUS
                                    Checking DEBIT -500 62000019 Debit   EB TO CHECKING # 0136962406 / REF# 000000 8647334 /
4/10/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking -121.25 62000019 Debit      RINGCENTRAL INC 4814 / 888-898-4591 CA 94002 0124 /
 4/9/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                              -3,123.00
                                                   DEBIT62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
 4/9/24 Cleared   FTW Disbursements
                            MISCELLANEOUS
                                    Checking FEES
                                                -413.38 62000019 Debit   ANALYSIS CHARGE 03-24 /
 4/9/24 Cleared   FTW Disbursements
                            MISCELLANEOUS
                                    Checking FEES -37 62000019 Debit     ANALYSIS EXPLICIT CHARGE 03-24 /
 4/9/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH -625
                                                   DEBIT62000019 Debit   JMJ1 / / JMJ1 SALE / REMARKABLE HEA /
 4/9/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH-48.5
                                                   DEBIT62000019 Debit   DALLAS LIFE SUPP / 817-284-7788 / DALLAS LIFE SUPP ACH / A
 4/8/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking -609.11 62000019 Debit      AMZN Mktp US*F7 5942 / Amzn.com bill WA 98109 0825 /
 4/8/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking      -70.7 62000019 Debit   THE HOME DEPOT 5200 / FT WORTH TX 76137 0825 /
 4/8/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking     -59.37 62000019 Debit   7-ELEVEN 27575 5541 / FT WORTH TX 76137 0825 /
 4/8/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking     -48.31 62000019 Debit   AMZN Mktp US*O0 5942 / Amzn.com bill WA 98109 0825 /
 4/5/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                              -1,500.00
                                                   DEBIT62000019 Debit   REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
 4/5/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                              -7,218.59
                                                   DEBIT62000019 Debit   PFS Shreveport / 0528- 52803176 / PFS Shreveport AR PAYMENT
 4/5/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH -756.4
                                                   DEBIT62000019 Debit   PERFORMANCESSLA / Cust #02458 / PERFORMANCESSLA AR
 4/4/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking -101.07 62000019 Debit      AMZN Mktp US*RN 5942 / Amzn.com bill WA 98109 0825 /
 4/4/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking     -82.28 62000019 Debit   AMZN Mktp US*HI 5942 / Amzn.com bill WA 98109 0825 /
 4/4/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking     -74.87 62000019 Debit   7-ELEVEN 27575 5541 / FT WORTH TX 76137 0825 /
 4/4/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                              -3,618.25
                                                   DEBIT62000019 Debit   REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
 4/4/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                              -7,604.70
                                                   DEBIT62000019 Debit   PERFORMANCESSLA / Cust #03176 / PERFORMANCESSLA AR
 4/4/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                              -6,576.04
                                                   DEBIT62000019 Debit   PFS Shreveport / 0528- 52803176 / PFS Shreveport AR PAYMENT
 4/3/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking -115.21 62000019 Debit      RINGCENTRAL INC 4814 / 888-898-4591 CA 94002 0825 /
 4/3/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking     -43.26 62000019 Debit   THE HOME DEPOT 5200 / FT WORTH TX 76137 0825 /
 4/3/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking     -24.98 62000019 Debit   AMZN Mktp US*EN 5942 / Amzn.com bill WA 98109 0825 /
 4/3/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking     -23.82 62000019 Debit   AMZN Mktp US*VC 5942 / Amzn.com bill WA 98109 0825 /
 4/3/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking-24,562.69
                                              ACH DEBIT62000019 Debit    REGIONS BANK ACCT TRANS / 271665142 NANDASHIPP /
 4/3/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                              -1,054.40
                                                   DEBIT62000019 Debit   Next Generation / 1 / Next Generation SimplyWork / Remarkable 1
 4/3/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH -92.52
                                                   DEBIT62000019 Debit   PFS Shreveport / 0528- 52803176 / PFS Shreveport AR PAYMENT
 4/3/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH -33.95
                                                   DEBIT62000019 Debit   DALLAS LIFE SUPP / 817-284-7788 / DALLAS LIFE SUPP ACH / A
 4/2/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking-30,912.54
                                              ACH DEBIT62000019 Debit    HEALTH CARE SERV / 7570004629 / HEALTH CARE SERV OBP
 4/2/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH-865.24
                                                   DEBIT62000019 Debit   CENTRAL PAYMENT / 84...
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 4/1/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking -214.25 62000019 Debit     WALMART.COM 800 5310 / 800-966-6546 AR 72716 0825 /
 4/1/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking    -62.09 62000019 Debit   7-ELEVEN 27575 5541 / FT WORTH TX 76137 0825 /
 4/1/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                               -215.12
                                                  DEBIT62000019 Debit   PFS Shreveport / 0528- 52803176 / PFS Shreveport AR PAYMENT
3/29/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH-756.4
                                                  DEBIT62000019 Debit   PERFORMANCESSLA / Cust #02458 / PERFORMANCESSLA AR
3/29/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                             -8,762.90
                                                  DEBIT62000019 Debit   PFS Shreveport / 0528- 52803176 / PFS Shreveport AR PAYMENT
3/29/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking    -15.46 62000019 Debit   RACETRAC2445 0 5542 / FT WORTH TX 76131 0825 /
3/29/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking    -93.55 62000019 Debit   RACETRAC2362 0 5541 / FT WORTH TX 76177 0825 /
3/28/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking    -20.43 62000019 Debit   AMZN Mktp US*B7 5942 / Amzn.com bill WA 98109 0825 /
3/28/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                             -2,480.51
                                                  DEBIT62000019 Debit   REGIONS BANK PREFUNDDBT / 271665142 NANDASHIPP /
3/28/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                             -7,041.62
                                                  DEBIT62000019 Debit   PFS Shreveport / 0528- 52803176 / PFS Shreveport AR PAYMENT
3/28/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH-756.4
                                                  DEBIT62000019 Debit   PERFORMANCESSLA / Cust #02458 / PERFORMANCESSLA AR
3/28/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                               -130.95
                                                  DEBIT62000019 Debit   DALLAS LIFE SUPP / 817-284-7788 / DALLAS LIFE SUPP ACH / A
3/28/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH DEBIT
                                                   -71 62000019 Debit   MARSHALL SHREDDI / / MARSHALL SHREDDI SALE / 6649 RIV
3/28/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH DEBIT
                                                   -71 62000019 Debit   MARSHALL SHREDDI / / MARSHALL SHREDDI SALE / 3350 BON
3/26/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH-70.79
                                                  DEBIT62000019 Debit   RACETRAC2445 0 5541 / FT WORTH TX 76131 0825 /
3/25/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH-15.89
                                                  DEBIT62000019 Debit   Amazon Prime*RH 5968 / Amzn.com bill WA 98109 0761 /
3/21/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking -204.59 62000019 Debit     BERRETT PEST CO 7342 / 214-2424800 TX 75042 0124 /
3/21/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking       -80 62000019 Debit   7-ELEVEN 34246 5541 / FT WORTH TX 76116 0825 /
3/21/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking    -44.21 62000019 Debit   THE HOME DEPOT 5200 / FT WORTH TX 76109 0825 /
3/21/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                             -6,445.81
                                                  DEBIT62000019 Debit   PFS Shreveport / 0528- 52803176 / PFS Shreveport AR PAYMENT
3/21/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH
                                               -138.74
                                                  DEBIT62000019 Debit   SPECTRUM SPECTRUM / REMARKABLE HEA 0369141 /
3/20/24 Cleared   FTW Disbursements
                            ATM DEBIT
                                    Checking    -80.39 62000019 Debit   7-ELEVEN 27575 5541 / FT WORTH TX 76137 0825 /
3/20/24 Cleared   FTW Disbursements
                            PREAUTHORIZED
                                    Checking ACH-48.5
                                                  DEBIT62000019 Debit   DALLAS LIFE SUPP / 817-284-7788 / DALLAS LIFE SUPP ACH / A

                                            -131171.3                   payroll paid by new operator
                                           -140180.68                   payroll paid by new operator

                                            -462368.76
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Date:
Time:
User:

Vendor                                     Code         0-30


A-1 Grease Services, Inc.                  2303         0.00

Abshire Dietary Consultants                52           0.00

ACECO LLC                                  2052         0.00
All Needz Plumbing                         686          0.00
Allegiance Ambulance                       777          0.00
AT&T MOBILITY (Account 877003191)          716          0.00

Atmos Energy                               141        406.64    Utility        5/25/24
Auto-Chlor                                 2498      1,591.56   Chemicals      5/25/24
Barbara McCollough                         2414         0.00
Beard,Kultgen,Brophy Bostwick&Dickerson    1523         0.00

Bessie James                               2430         0.00
Bill Warren                                2407         0.00
Biomedical Waste Solutions                 1673         0.00

BioSTAT                                    2009         0.00
BioStat Imaging, LLC                       2376         0.00
Blue Cross Blue Shield of Texas            81           0.00

Bonnie Wolf                                2432         0.00
Cantwell Power Solutions, LLC              133          0.00

Care One Communications LLC                2360         0.00

Care Trips LLC                             2218         0.00
CareNow (GA)                               1525         0.00
Carrington Coleman                         2390         0.00
Charter Communications 4496                2370        75.02

Chris McPike                               974          0.00
City of Fort Worth Water Department        147       4,290.89
                                                                Utility        5/25/24
Compass Medicare Billing LLC               3292         0.00

Complete Backflow Services Company, LLC    3239         0.00


Complete ERC                               2455         0.00
Complex Rehab Technology                   2413         0.00

Cotton Commercial USA, Inc                 2231         0.00

Cozzinin Bros.                             3259         0.00
Curtis Law                                 1576         0.00
D Commercial Refrigeration Inc.            3240         0.00

DADS                                       2090         0.00
Dallas Life Support Systems Inc.           115        782.30
                                                                Oxygen         5/25/24
Dearborn National                          1985         0.00
Deborah Retcher                            2412         0.00
Diagnostex Consultants                     149          0.00
Digital Verdict, Inc.                      2509         0.00
Direct Energy Business                     2507      5,499.04
                                                                Utility        5/25/24
Direct Supply, Inc.                        35           0.00
DNA Plumbing Services Ft. Worth            2419         0.00

Elite Discovery, Inc                       1822         0.00
Elizabeth A Wallace Estate                 2423         0.00

Emmanuel Moore                             3211         0.00
Engie Resources                            1988         0.00
Enterprise Security Solutions of Texas,    2345         0.00

Exponent Technologies, Inc.                1254      2,136.37
                                                                Payroll fees   5/25/24
Fort Worth Internal Medicine               2056         0.00

Gorman Mechanical                          2338         0.00
Hart HVAC LLC                              2511         0.00
Infinity Mechanical Services LLC           1040         0.00

Intrepid Technologies, Inc.                2283         0.00

IPFS Corporation                           463          0.00
ISOLVED BENEFIT SERVICES BENEFIT SERVICE   2058         0.00


Jessica Anderson                           94           0.00
JJJNEMT LLC                                2439      2,172.00   non emergency
                                                                            5/25/24
                                                                              transport
Judy Kaufman                               2409         0.00
Kaliber Data Security & Compliance         285          0.00

Kellie Jo Bruns                            1025         0.00
Kelsey Diehl                               2526         0.81
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Kevin Greer                             2431          0.00
Laura Osiel                             2408          0.00
Leanne Hall                             3072          0.00
Lee Eckler                              2157          0.00
Lisa Oliphant                           2406          0.00
Logos Clinical Laboratory, LLC          3047        971.08
                                                              Lab         5/25/24
Lola Lorena Ltd. Co.                    11            0.00
Loreeta Hampton                         2104          0.00
Lori Winward                            2428          0.00
Manage Meds, LLC                        855           0.00
Management and Network Services         500           0.00

Marshall Shredding Co.                  2901          0.00
Mary Jane Salazar                       593           0.00
Mas Vida Health Care Solutions          2515          0.00

MDS Consultants                         3092          0.00
MedixCar LLC                            2226          0.00
Medline Industries, Inc.                281           0.00
Michelle Holbrook                       2454          0.00
Mid-South Fire Solutions, LLC           2256          0.00

Miranda M. Williams, LLC                2269          0.00

More Power Vent Cleaning                261           0.00

Neighborhood Portable X-Ray             3046          0.00

Netsmart Technologies, Inc.             2378          0.00

New Benefits Ltd.                       1311         80.00
New Source Medical                      1718      12,996.67
                                                              Equip Rental 5/25/24
Non Emergency Transport Inc.            172           0.00

North Texas Fire Systems, LLC           2044         45.00

NTTA North Texas Tollway Authority      1775          0.00

Nutritious Lifestyles, Inc.             3113          0.00

Open Text Inc                           1986          0.00
Optima Healthcare Solutions, LLC.       829        2,201.98
                                                              Software    5/25/24
Orkin                                   1983          0.00
Parts Town, LLC                         545           0.00
Patricia Nieto                          2421          0.00
Peggy Owens                             2410          0.00
Performance Foodservice                 2469          0.00

Pharmacy Unlimited                      1995       1,400.00   Pharmacy    5/25/24
PointClick Care Technologies INC        25         2,890.59
                                                              software    5/25/24
Powers Taylor                           2441          0.00
Progressive Commercial                  2018          0.00

Quatro Tax LLC                          1511          0.00
Quintairos, Prieto, Wood and Boyer PA   2168          0.00

Ralph Robertson                         2427          0.00
RC Practitioners, PLLC                  821           0.00
Republic Services 2287                  3090        695.73    trash       5/25/24
Ride N Safe, LLC                        914           0.00
Robert English                          144           0.00
Robert Gross                            2425          0.00
Sarah Tracy                             2422          0.00
Scrubs on Wheels                        2416          0.00
Shannon NEMT LLC                        2326          0.00
ShredAmerica Texas LLC                  2295          0.00

Simply Work                             1388       1,089.80
                                                              software    5/25/24
Spectrum 1548                           2080          0.00
StripingLot                             2377          0.00
Summit LTC Management                   2943          0.00

The Copier Guy                          2501          0.00
The Flying Locksmiths - Fort Worth      2305          0.00

The Messina Law Firm PC                 2486          0.00

The PICC Team DFW                       2169          0.00
Three D Lawn Care LLC                   2477          0.00

Titan Air Solutions                     2491          0.00
Total Fire and Safety, Inc.             101           0.00

Trans-Care Medical Transport            2317          0.00

Turner, Stone & Company LLP             1712          0.00

Victoria Falcon                         2411          0.00
WC of Texas                             334           0.00
                                                  39,325.48
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RH FW Exhibit F
                                              Greater than   Greater than   Greater than   Greater than Greater than Greater than Greater than Greater than Greater than
       Payer         Total        Current
                                                30 days        60 days        90 days       120 days     150 days     180 days     210 days     240 days     270 days
Remarkable Healthcare of Fort Worth
       AMP       $20,254.00           -            -              -          $7,128.54     $13,125.46         -             -             -            -            -
       ATX         $939.00            -            -              -              -              -             -             -             -            -         $939.00
       CGL       $115,921.92      $3,600.00    $7,470.00     $16,470.00      $4,041.92          -             -        $30,440.00    $33,000.00   $20,900.00        -
        GR       $42,735.79       $3,149.42   $23,280.39     $10,581.12      $4,876.07       $848.79          -             -             -            -            -
        HM       $11,172.46        $523.50     $7,423.68          -          $3,225.28          -             -             -             -            -            -
       HMG       $56,398.24           -            -              -              -              -             -        $15,902.06     $2,269.19   $12,979.82   $25,247.17
       HML        $4,434.00           -            -          $4,070.00          -              -             -             -             -            -         $364.00
        MA       $340,397.10    $105,814.79   $127,823.34    $48,954.81      $7,859.39      $5,515.72    $23,080.61    $14,707.13         -            -        $6,641.31
       MAI       $77,848.18       $8,772.00   $11,424.00      $1,836.00      $6,324.00      $6,600.00    $12,000.00     $7,400.00         -            -       $23,492.18
       MAM       $79,292.70       $4,543.18   $10,505.87      $3,383.21      $5,342.00      $4,712.96     $3,452.00     $8,620.54    $12,474.81   $14,119.36   $12,138.77
       MAP       $53,679.72       $3,607.30    $5,712.00     $10,200.00     $15,976.70      $9,800.00     $5,200.00         -             -            -        $3,183.72
       MBI       $10,606.20       $1,261.67    $1,458.83      $1,880.65      $1,879.86       $560.97       $190.26       $758.82      $1,267.43        -        $1,347.71
       MBP        $1,198.73        $434.41      $309.72        $303.89        $150.71           -             -             -             -            -            -
       MCA       $98,605.69      $41,750.41   $25,392.52      $6,625.31          -          $5,715.49    $10,115.67     $3,854.45     $2,690.38    $2,461.46        -
       MCB       $76,977.27      $22,783.08   $23,378.38     $11,333.76      $7,059.28      $3,509.83     $1,004.52     $1,284.98     $2,800.75        -        $3,822.69
       MCL        $9,575.00           -            -              -              -              -             -             -          $510.00     $3,850.00    $5,215.00
       MCP       $10,106.93           -            -           $697.50           -          $3,372.00         -             -             -            -        $6,037.43
       MCT       $81,762.18      $10,191.19   $14,321.90     $11,714.72      $8,232.92      $4,863.63      $585.33          -         $5,468.72    $4,270.87   $22,112.90
       MGA        $6,707.84           -            -              -              -              -             -             -             -        $3,904.00    $2,803.84
       MGR       $116,282.82      $2,776.59   $15,465.77     $21,930.58          -         $18,450.98         -             -         $1,104.42        -       $56,554.48
        MP       $251,115.67     $24,196.22   $42,516.76     $26,435.09     $27,630.30     $15,923.16    $30,587.15    $19,259.37    $16,924.69   $13,939.03   $33,703.90
       OPB        $2,578.84        $483.89      $784.10        $428.71           -           $46.26        $87.00        $471.50       $178.36         -         $99.02
       OPI         $178.28            -            -           $178.28           -              -             -             -             -            -            -
       OPP        $1,495.87        $120.98      $196.02        $196.73        $214.86        $53.55        $22.19        $120.22       $116.85      $17.63       $436.84
       OTP         $687.27            -            -              -              -              -             -             -             -         $687.27         -
        PP       $62,699.22      $18,830.70   $17,808.56     $13,283.86      $6,879.30      $5,896.80         -             -             -            -            -
       UHC       $27,727.87           -            -           $930.00           -           $400.00      $4,650.00     $8,835.00         -            -       $12,912.87
       USW        $9,448.31           -            -              -              -              -             -             -             -            -        $9,448.31
       WLC        $7,092.00           -            -              -          $3,168.00      $3,456.00         -             -             -         $468.00         -
       WML       $144,812.96     $20,460.00   $14,415.00          -          $7,110.00       $500.00     $11,625.00     $1,810.50     $1,800.00    $8,585.00   $78,507.46
      TOTAL     $1,722,732.06 $273,299.33     $349,686.84    $191,434.22    $117,099.13    $103,351.60   $102,599.73   $113,464.57   $80,605.60   $86,182.44   $305,008.60
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Remarkable Healthcare of Fort Worth                       2024"
Period Based Income Statement

User: Jon McPike
                                                          3/1/2024 to 3/31/2024

Include Adjustment Periods: NO                            Include Closing Periods: NO

                                                          March 24_Actual $
                                                                   0
Revenue
 Revenue by Payor
   Private Pay                                                24,530
   Medicare Part A                                           114,095
   Medicaid                                                  352,279
   Managed Care                                               26,074
   Medicare Part B                                            54,830
   Other Income                                                   10
 TOTAL Revenue by Payor                                      571,818
TOTAL Revenue                                                571,818
                                                                   0
Expenses
  Nursing Administration Costs
   Salaries - Director of Nursing                              9,347
   Salaries - Nursing Admin Staff                              7,975
   Salaries - Hazard Pay Nursing Admin                             0
   Recruiting Bonus - Nursing Admin                                0
   Vac/Sick/Holiday - Nursing Admin                                0
   FICA/MC - Nursing Admin                                         0
   FUTA/SUTA - Nursing Admin                                       0
   Employee Benefits - Nursing Admin                           1,136
   Nursing Supplies - Nursing Admin                                0
   Risk Management - Nursing Admin                                 0
   Quality Assurance - Nursing Admin                               0
   Infection Control - Nursing Admin                               0
   Dues/Memberships/Subscriptions - Nursing Admin                  0
   Training/Seminar/Conf - Nursing Admin                           0
   Travel - Nursing Admin                                          0
  TOTAL Nursing Administration Costs                          18,458
  Nursing Services
   Salaries - Restorative Aide                                     0
   Salaries - RN                                              11,335
   Salaries - LVN                                             78,139
   Salaries - CNA                                             82,827
   Salaries - Hazard Pay Nursing Svc                               0
   Employee Benefits - Nursing Svc                             3,234
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 Recruting/Advertising/Bonus - Nursing Svc                    0
 FICA/MC - Nursing Svc                                        0
 FUTA/SUTA - Nursing Svc                                      0
 Contract Labor - Nursing Svc                                 0
 Floor Stock Drugs and Supplies                           1,619
 Nursing Supplies                                         7,675
 Medical Supplies Non-Chargeable - NSG SVC                    0
 DME Rental - NSG SVC                                    10,912
 Durable Medical Equipment                                    0
 Flu/Pneumonia Vaccine                                        0
 Oxygen and Supplies                                          0
 Risk Management - Nursing Svc                                0
 Incontinent Supplies                                     2,519
 Dietary Supplements                                        125
 Enteral Supplies - NSG SVC                               1,254
 Minor Equipment - Nursing Svc                                0
 Medical Waste                                              363
 Training/Seminars/Conference - Nursing Svc                   0
 Travel - Nursing Svc                                         0
 Forms and Printing                                           0
 Overtime - Nursing Svc                                       0
TOTAL Nursing Services                                  200,001
Nursing Services - Medicare A
 Prescription Drugs - MRA                                 7,000
 Laboratory - MRA                                           971
 Radiology - MRA                                            976
 Physical Therapy - MRA                                   4,269
 Occupational Therapy - MRA                               5,069
 Speech Therapy - MRA                                     3,366
 DME Rental - MRA                                         1,988
 IV Therapy - MRA                                             0
 Oxygen - MRA                                             1,073
TOTAL Nursing Services - Medicare A                      24,711
Nursing Services - Medicare B
 Physical Therapy - MRB                                       0
 Occupational Therapy - MRB                               1,188
 Speech Therapy - MRB                                     3,300
TOTAL Nursing Services - Medicare B                       4,488
Nursing Services - Insurance
 Prescription Drugs - INS                                 4,000
 Physical Therapy - INS                                    -388
 Occupational Therapy - INS                                   0
 Speech Therapy - INS                                         0
 IV Therapy - INS                                         1,500
TOTAL Nursing Services - Insurance                        5,112
Nursing Services - MCD
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  Physical Therapy - MCD                                       0
  Speech Therapy - MCD                                         0
  Occupational Therapy - MCD                                   0
  Prescription Drugs - MCD                                   600
TOTAL Nursing Services - MCD                                 600
Medical Records
  Salaries - Medical Records                               3,454
  Salaries - Hazard Pay Med Rec                                0
  FICA/MC - Medical Records                                    0
  Employee Benefits - Medical Records                          0
  FUTA/SUTA - Medical Records                                  0
  Supplies - Medical Records                                   0
  Travel - Medical Records                                     0
  Overtime - Medical Records                                   0
TOTAL Medical Records                                      3,454
Food Services
  Salaries - Food Service Supv.                            3,321
  Salaries - Food Service Staff                           17,534
  Salaries - Hazard Pay Dietary                                0
  Recruiting/Advertising/Bonus - Food Service                  0
  Employee Benefits - Food Service                           187
  FICA/MC - Food Service                                       0
  FUTA/SUTA - Food Service                                     0
  Contract Services - Food Service                             0
  Utensils & Smallware - Dietary                               0
  Supplies - Food Service                                    618
  Minor Equipment - Food Service                               0
  Equipment Rental - Food Service                            131
  Repairs and Maintenance - Food Service                     379
  Risk Management - Food Service                               0
  Raw Food - Food Service                                 10,883
  Forms and Printing - Food Service                            0
  Dues/Membership/Subscr. - Food Service                       0
  Training/Seminar/Conf - Food Service                         0
  Travel - Food Service                                        0
  Overtime - Food Service                                      0
TOTAL Food Services                                       33,054
Housekeeping
  Salaries - Housekeeping                                  4,365
  Salaries - Hazard Pay Hsk                                    0
  Employee Benefits - Housekeeping                             0
  Recruiting/Advertising/Bonus - Housekeeping                  0
  FICA/MC - Housekeeping                                       0
  FUTA/SUTA - Housekeeping                                     0
  Contract Services - Housekeeping                         1,792
  Supplies - Housekeeping                                    468
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  Risk Management - Housekeeping                              0
  Minor Equipment - Housekeeping                              0
  Repairs and Maintenance - Housekeeping                      0
  Overtime - Housekeeping                                     0
  Training/Seminar/Conference - Housekeeping                  0
TOTAL Housekeeping                                        6,625
Laundry
  Salaries - Laundry                                      3,355
  Salaries - Hazard Pay Laundry                               0
  Employee Benefits - Laundry                                 0
  FICA/MC - Laundry                                           0
  FUTA/SUTA - Laundry                                         0
  Contract Services - Laundry                                 0
  Linen and Bedding - Laundry                                 0
  Supplies - Laundry                                        649
  Repairs and Mainetenance - Laundry                          0
  Training/Seminars/Conf - Laundry                            0
  Overtime - Laundry                                          0
TOTAL Laundry                                             4,004
Maintenance
  Salaries - Maintenance Supervisor                           0
  Salaries - Maintenance Tech                             8,623
  Salaries - Hazard Pay Maint                                 0
  Employee Benefits - Maintenance                           895
  FICA/MC - Maintenance                                       0
  FUTA/SUTA - Maintenance                                     0
  Supplies - Maintenance                                      0
  Risk Management - Maintenance                               0
  A/C Service - Maintenance                                   0
  Repairs and Maintenance - Maintenance                       0
  Minor Equipment - Maintenance                               0
  Pest Control                                              205
  Contract Services - Maint.                                  0
  Utilities - Electric                                    5,499
  Utilities - Water/Sewer                                 3,503
  Utilities - Gas                                           638
  Utilities - Cable TV                                    1,533
  Waste Disposal                                              0
  Storage Unit Rental                                         0
  Fire Alarm Maintenance                                     45
  Landscaping                                                 0
  Vehicle Lease/Finance                                       0
  Insurance - Auto                                          645
  Fuel and Vehicle Repairs                                    0
  Fuel - Generator                                            0
  Travel - Maintenance                                        0
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  Overtime - Maintenance                                        0
  Training/Seminar/Conference - Maintenance                     0
  Recruiting/Advertising/Bonus - Maintenance                    0
  Depreciation - Maintenance Equipment                          0
TOTAL Maintenance                                          21,586
Activities
  Salaries - Activity Director                              2,229
  Salaries - Acitivities Staff                                  0
  Salaries - Hazard Pay Activities                              0
  Employee Benefits - Activities                                0
  FICA/MC - Activities                                          0
  FUTA/SUTA - Activities                                        0
  Supplies - Activities                                         0
  Risk Management - Activities                                  0
  Equipment Rental - Activites                                  0
  Volunteer Expense - Activities                                0
  Beauty and Barber - Activities                                0
  Pet Therapy Expense - Activities                              0
  Printing Expense - Activities                                 0
  Entertainment Expense - Activities                            0
  Dues/Memberships/Subscriptions - Activities                   0
  Training/Seminars/Conference - Activities                     0
  Travel - Activities                                           0
  Advertising/Recruiting - Activities                           0
  Contracted Religious Services - Activities                    0
TOTAL Activities                                            2,229
Social Services
  Salaries - Director of Social Services                    3,318
  Salaries - Social Service Staff                               0
  Overtime - Social Services                                    0
  Employee Recruitment - Social Services                        0
  Employee Benefits - Social Services                           0
  FICA/MC - Social Services                                     0
  FUTA/SUTA - Social Services                                   0
  Supplies - Social Services                                    0
  Dues/Memberships/Subscriptions - Social Services              0
  Training/Seminars/Conference - Social Services                0
TOTAL Social Services                                       3,318
Purchased Services
  Medical Director                                          2,000
  Pharmacy Consultant                                       1,400
  Medical Records Consultant                                    0
  Registered Music Therapist                                    0
  Registered Dietician                                          0
  Chaplaincy                                                    0
  Legal Consultant                                              0
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 Resident Transportation/Ambulance                          5,149
TOTAL Purchased Services                                    8,549
General and Administrative
 Salaries - Administrator                                   5,856
 Salaries - Admissions Coordinator/Marketing                4,529
 Salaries - Admin Staff                                    11,348
 Salaries - Accounts Payable/Payroll                        3,553
 Salaries - Hazard Pay Admin Staff                              0
 Overtime - G&A                                                 0
 Bonus - G&A                                                    0
 Employee Benefits - G&A                                    1,796
 FICA/MC - G&A                                                  0
 FUTA/SUTA - G&A                                                0
 Contract Services - G&A                                      886
 Professional Fees - G&A                                       35
 Payroll Fees                                               1,564
 Legal Fees                                                     0
 Consulting - Outside Services                                  0
 New Hire Expenses                                              0
 Bad Debt Expense                                               0
 Employee Uniforms - G&A                                        0
 Tuition Reimbursement                                          0
 Employee Relations                                             0
 Employee Recruitment - G&A                                     0
 Training/Seminars/Conference - G&A                             0
 Repairs and Maintenance - G&A                                  0
 Equipment Rental - G&A                                         0
 Minor Equipment - G&A                                        135
 Telephone Service - G&A                                      937
 IT Data Circuits                                             517
 Contract Services - IT                                     2,891
 Public Relations/Marketing/Advertising                         0
 Dues/Memberships/Subscriptions - G&A                           0
 Postage and Freight                                            0
 Forms and Office Supplies - G&A                                0
 Printing - G&A                                                 0
 Business Meals - G&A                                           0
 Travel - G&A                                                 178
 Insurance - Workers Comp                                       0
 Insurance - Property and Liability                         1,165
 Parking and Tolls - G&A                                        0
 Interest Expense                                               0
 Mileage - G&A                                                  0
 Taxes and Licenses - G&A                                       0
 Depreciation Equipment - G&A                                   0
 Miscellaneous Expense - G&A                                    0
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   Penalties and Late Fees                                         0
   Lost Property Replacement Costs                               108
   Charitable Contributions - G&A                                  0
   Printers Cartridges/Ink-G&A                                     0
 TOTAL General and Administrative                             35,498
 Facility Expenses
   Management Fee                                             28591
   Facility Lease/Rent                                        80,000
   Property Taxes                                             18,182
   Facility Depreciation Expense                                   0
   Asset Management Fees                                           0
   Penalties and Late Fees - Facility                              0
   Storm Damage Expense                                            0
   Facility Insurance - FAC                                    8,962
 TOTAL Facility Expenses                                     135,735
TOTAL Expenses                                               507,422
Net Income/Loss                                               64,396

Add Back:
Interest                                                           0
Covid Hazard Pay                                                   0
Depreciation & Amortization                                        0
EBITDA                                                        64,396
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ng Periods: NO
